AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                      Western          District of      North Carolina

                    United States of America
                               v.                                           )
                                                                            )   Case No:        5:18-cr-62-KDB-DSC-1
                          Physique Dalton                                   )
                                                                            )   USM No: 21148-058
Date of Original Judgment:         05/15/2020                               )
Date of Previous Amended Judgment:                                          )   Kevin Tate
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of         the defendant     the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED.        GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of        60               months is reduced to               47 months              .
                             (See Page 2 for additional parts. Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                           05/15/2020             shall remain in effect.
IT IS SO ORDERED.

                                                                                               Signed: January 2, 2024



                                                                                                         Judge’s signature


Effective Date:           February 1, 2024                                                               Kenneth D. Bell
                     (if different from order date)                                                    Printed name and title


                  Case 5:18-cr-00062-KDB-DSC Document 51 Filed 01/02/24 Page 1 of 2
AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)   Page 2 of 2 (Page 2 Not for Public Disclosure)

                      This page contains information that should not be filed in court unless under seal.
                                                (Not for Public Disclosure)



DEFENDANT: Physique Dalton
CASE NUMBER: 5:18-cr-62-KDB-DSC-1
DISTRICT: Western District of North Carolina


I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Total Offense Level: 23              Amended Total Offense Level: 23
Criminal History Category:    IV              Criminal History Category:   III
Previous Guideline Range:     70 to 87 months Amended Guideline Range:     57                                                    to 71         months

II.   SENTENCE RELATIVE TO THE AMENDED GUIDELINE RANGE
      The reduced sentence is within the amended guideline range.
      The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
      time of sentencing as a result of a substantial assistance departure or Rule 35 reduction, and the reduced sentence
      is comparably less than the amended guideline range.
      The reduced sentence is above the amended guideline range.

III. FACTORS CONSIDERED UNDER USSG § 1B1.10 AND 18 U.S.C. § 3553(a) (See Chavez-Meza v. United
     States, 138 S.Ct. 1959 (2018))
      At sentencing, the Court departed downward from the guideline range by 10 months to account for time served (10 months) on
      a discharged state sentence, (Doc. No. 30), resulting in a sentence of 60 months. Accounting for the same downward departure
      of 10 months from the bottom of the amended guideline range results in a sentence of 47 months.




                  Case 5:18-cr-00062-KDB-DSC Document 51 Filed 01/02/24 Page 2 of 2
